                                                                             CLERK'S OFFICE U'S.DI:T.cotln'
                                                                                                          r
                IN TH E W ESTERN DISTRICT COURT OF G                 GIM A            ATM INGDON,VA
                            BIG ST ON E GA P DIW SIO N                                    FILED
                                                                                      JUL -9 2217
  M elinda Seott,                                                                J       DUDLEY
                                                                                BY:
  Plaintiff,

                                                      CL NO 2:17CV6

  W ise C ounty Departm ent
  O fSocialServices,et aI.,

  D efendant.


                    M OTION TO STRIKEDEFENDANTW ISE COG TY
                DEPARTM ENT OF SOCIAL SERVICES'S M OTION TO DISMISS

         Plainti/ inresponsetoW iseCotmtyDepnrtmentofSocialService'sM otionto
  Dism iss,m ovestllisHonorable Courtto strike the entire M otion toDism isson the
  following p otmds:W ise Cotmty Depnrtm entofSocialService's,by cotmsel,hasm ade
  severaletw neousclaimqregarding thePlaintiffsComplaint.ThePlaintiffhasfollowed
  properfederalprocedureswhen draftingheroriginalComplaintpieading.Plaintiffsets
  forth thefollowing argum entdemonskating both theerroneousclaimsmadebythe
  Defendantaswellasthe adequacy ofheroriginalComplaintproceeding:

         1.ErroneousClnim N o.1:Defendant,by cotmsel,claim sthatthePlaintiffs
  pleading contningonly legalconclusions,labels,conclusions,conclusory sutements,a
  formulaicrecitation ofelements,tlzreadbare recitalsoftheelem entsofacauseofactions,
  unwarro ted inferences,zmreasonable conclusions,Ilnremsonablearguments,statem ents
  thatarenotbeyond the speculative level,and statem entsthatarenotplausible.Theserre
  inaccuratelabelsm isaM butedtothePlaintic soriginalCom plaint.

         a.'
           I'
            he Defendantm akesa sw eeping generalization thatal1the Plaintic s
  paragraphsareGlegalconclusions''.However,The Plaintiffhasfollowed Rule 8by
  m nking plain and concise statem ents which are operative facts.'lhe Plaintif hms
  described actions,notform ed legalconclusions.V iolationsofG eFirstAm endm entand


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                                 erv,et.al.                                   Page1of9
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     Foul'tb Am endm entrequirewordswhich can also touch on mattersof1aw pertinentto
     fo- ing legalconclusion.lfthereisno otheralternateword available in English to
     describean operativefact,thePlaintil cnnnotbefaulted forthat.Even still,ThePlaintiff
     haspleaded accordingto Rule 8.

            ThePlaintif hasnotused Statutesand CaseLaw,asinstructed by t%epro-se
     litigantform reqtlired by the Court.TheDefendantseeksto faultthePlaintic spleading
     by mskingforevidentiary facts.In Conley v.Gibson,theUS Suprem eCourtheld that
     Rule 8doesnotrequireRaclaim antto setoutin detailthefactsupon which hebaseshis
     claim''(Conleyv.Gibson 355 US41,42 (195T.TheDefendantreliesheavilyonBellAtl.
     Corp v.Twombly withoutregardto Conley v.Gibson.YetBellAtl.Corp v.Twombly did
     notoverturn Conley v.Gibson.Itsimply cautioned lowercourtsfrom notusing aliteral
     understanding oftheGtno setoffacts''languageto thepohtofallowingnew factllnl
     ilegationsto bem adedllringdiscovery.In BellAtl.Corp v.Twombly the Courtcautions
     againstisolatingthepassageRno setoffacts''butnowheredoesBellAtl.Com v.
     Twombly m ake Conley v.Gibson completely irrelevant.

            In fact,œsking forproofin apleadingisEitmknown to the federalpracticeorto
     anyothersystem ofmodem pleading''(KingVisionv.Dim itd'sRestaurant180FRD 332
     (1998))rThisrequirementwmsupheldinBellAtl.C' tlrr v.Twombly.Aslongasthereisa
     Eçreasonablyfotmdedhopethatthe(discoveryqprocesswillrevealrelevantevidence''
     @ ellAtl.Corp v.Twombly)aPlaintiœ sComplaintcanproceedtotheAnswerand
 '

     Discovery phase.lndeed,the PlaintiffRneed notdetailed factnalallegations''becausethe
     ttplaintiffrçcrivesthebenetk ofimagination solong asthehypothesesare consistent
                 ! '
                  j

     withthçCoëp i
                    laint'''@eI
                              '
                               IAtl.Corp v.Twombl
                                                y quotingSanjuanvAmqr
                                                                    ;
                                                                     icanBd.of
     Psychiatry atldNeurolou ,Inc,40F.N 247,251(CA7199444.Fllrthçr,theCourt
              '           .
                                                                           .;

     elaborate; tq say thatan originalCom plaintRsimply callsforenough factto raisea
             '
                      .
                                      ; ', !
     remsonableexpectationthatdiscoverywillrevealevidence''@ ellAtl.Corp v.Twomblyj.

            b.N othing the Plaintift-hmsstated isa ttlaber'.A Rlabel''w ould be ttrecldess''in >
     sentencelike:R'l'heDefendnntisa Rrecldess''govem m entagency''.ThePlnintiF hmsnot
     written an           ' g ofthatnature.


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         c.'I'heDefendantm akesanothersweeping generalizationthatthe Plaine s
  operativefactsareKconclusions''andççconclusory statem ents''.Assuted above,the
  Plaintiffisbringing aFirstandFourth Amendm entviolation pleading.Thenatureof
  thoseviolationsrequkestheuseofterm swhich describe both actionsaswellasmatters
  oflaw.However,thePlaintiF hasnoterred in doing so.

         d.TheDefendanthmsstated thePlaintic splendingisGEaformtllaicreciution of
  elements''with l% readbarerecitalsoftheelem'entsofacauseofactionssupportedby
  conclusorystatements''(emphmsisadded).'
                                        l'hePlaintif denieseitherofthosearetrue.
  Firstly,thereisnothing Ge eadbare''aboutthe Plaintift'spleading.ThePlaintiffbnAalso
  followedRule101)whichstatesthatçtA partymuststateitsclnimso..innumbered
  parap aphs,each lim ited asfarmspracticableto asinglesetofcircum stances''.Each of
  theoperativefactssiated are in chronologicalorderw1111alogicalflow and sequence.
  They are stated in complete,c nmm atically correctsentences.Secondly,thePlaintif does
  notsupportthesefactualallegationsby <Gconclusory statem ents.''Thesefactllnl
  allegationsare supported bv evidentio factswhich thePlaintiffisnotobliMated to sGte
  in theorigm
            ' alComplaintpleadhm .Assuted above,thePlaintiffhasstated concisely in
  acçordancew11 Rule8withotltdivtzlging(toherdisadvanGge)evidentiaryfactswhich
  sheisnotobligatedto do.

         DefendantquotesAshcro? v.IqbalinsupportoftheselabelsonthePlaintifrs
  pleadinghowever,theDefendantisnotusingthesetermKincontext.lnAshcro? v.Iqbal
  thePlainjffstatedhisgrievanceswithbroadconcepmalwordsthatmadeitimpossible
  fortheCourtto splithisfactualallegationsfrom hislegalconclusionsbecausethey were
  heavily interwoven in largeparygraphs.ThePlaintiF hereisnotusingbm ad concepolnl
  wordsnorcomplex paragraphsbutratherdescribingplninly and sim ply operativefacts
  wltich areactionsdoneby theDefendant.

         Likewise,theDefendantreliesupon Twombly outofcontextto labelthePlaintift's
  pleading msauform ulaicrecitation''.In BellAtlCom v Twombly the Courtusesthisterm
  ilform tllaicrecitation''in contextofPapasan v.Allen,drawing the conclusion thatin a
  Plaintiffsefortto demonstrategrotmdsforthe entitlementto reliefRcourtsarenot


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  botmdtoacceptlegalconclusionscouchedasfactualallegations''@ ellAtl.Corp.v
  Twombly).'I'
             heCourtwasnotbaringpleadingsthatwerenotfancy enoughbutrather
  pleadingsthatare redtmdantly stating legalconclusions.

         e.Nothing thePle tiF hassaid isan unwarranted inference.ThePlainG has
  respectfully stated each oftheelem entsofherclnim .An unwarranted inferencewould be:
  tIthey did thisbecausethey areon apersonalHolocausf'.ThePlaintiffhmsnotwritten
  anything ofthatnature.

         f.NothingthePlaintx hassaid isan unreasonable conclujion.An lmreasonable
  conclusion would be:l%hey did thisbecausethey don'tlikepeoplewho eatoiganicfood''.
  ThePlaintiF hmsnotwritten anything ofthatnature.

         g.NothingthePlaintiffhmssaid isw easonable argum ent.An tmreœsonable
  argtlmentwouldhavebeen RW iseCotmty Departm entofSocialServicesisbound to
  Kantian ethicstoo''.'fhe PlaintiF hmsnotwritten anything ofthisnature.

         h.NothingthePlaintil hmssaid isspeculation.A spectllation wotlld havebeen:
  ttW ise CountyDepartmentofSocialServiceshmsthisproblem alof'.ThePlaintiffhms
  notwritten anything oftlaisnature.

         i.Contrary towhattheD efendnntclaim s,eve                       'g thePlaintif hassaid is
  plausible.A statem entthatisnotplausiblewould be:Gr n Cltrise asday W ise County
  DepnementofSocialServicessearchedm y hom e''.Thatwould notbeplausiblebecause
  itislcnownthatgovem m entbuildingsareclosed on Federalholidays.Thereprçno
  contradictionsorobviousimplguqiblç gtatem enssin thePlaintic splepding.

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                'eBe
                   'll'Atl.Corp.v.Twombly,thçCot!ry
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  i1açflexibleplausibilisysGndi
              ''' . '
                                ard'whiçhpbligesàpleadertosmplifyaclaim V thsome
                                    '   '
         ,

  fqctllnlallegationsin thosecontextswheresuch nm plifcation isneeded to renderthe
  clnlm platksible''(Ashcro? vIqbao.'I'hePlnintifl-pr/-xehaspzei
                                                               tthçplausibilitysfnndard
  by givingspecisc dates,locations,and specitk actions.ThePlaintiffhasshown with
  specifcfactspursnantto Rule 8thatsheisentitled torelief.ç1A claim hasfacial


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     plausibility when thePle tif pleadsfactualcontentthatallowsthecourtto draw the
     reasonableinferencethattheDefendantisliableforthemisconductalleged''(Ashcrojtv
     Iqbao.Further,Gçaslcingforplausibleg'
                                         rounds...doesnotimposeaprobabilityrequirement
     atthepleadingstage@ ellAtlCom vTwombly).

                        2.ErroneousClnim N o.2:Defendant,by cotmsel,clnim sthatW iseCotmty DSS
     isnonsuijuris.ln supportofthatclnim,DefendnntquotesHarrisonv.PrinceWilliam
     Cblznf.yPoliceDep 't,Whitlockv.StreetandDavisv.Portsmouth to stressthatthe
     legislaturem tlstcreatethepossibility ofthe governm ententity with dle capacityto be
     sued.'
          I'heVirginiaCode createseach DepnrtmentofSocialServiceswitllitsown policy
     makingpower(VaCode63.2-300,63.2-313,63.2-33.2and63.2-31$.Thisiswhy
     Virginiaalsoallowsthem tobeservedinlawsuits(VaCode8.01-300).ByVirginiaLaw,
     thedecision m nking powerand implementation oflaws- including thosewhich govem
     ChildProtectiveServiceinvestkations- restswitbineachlocalDeprtrtmentofSocial
     Services.Accordingly,the41 DisG ctCourthrm heard such casesas Vanessa Wilson v.
     R iverside Cozfnf.pDS,
                          % HSLDA v.Clarke Cozfn/y DSv
                                                     % CecilM oorev.LeeCbzfn/.yDSS,
     andRenn v.PittCbzfn/.yDSS.In eachofthesecmses,theDepartmentofSocialServicesof
     ar ouuty wasnam ed aDefendant.

                        3.ErroneousClaim No.3:Defendant,by counsel,claim sthatrefusing to givea
     party awan'antandusing fearand intimidation by aDepartm entofSocialServiesisnota
     Fourth Am endm entviolation.The U S Suprem e Courthas ruled otherw ise:lt'l'he b'
                                                                                     asic
     purposeofthisAmendmentasrecognized in countlessdecisionsofthisCourq isto
     safçguardtheprivacy and securityofindividualsagainstarbitrary invasionsby
     govvrnmenGloftkials''(Camarav.MunicèalCourtJ.f(7/.pandCbzfn/.yofsan
     F4/'4ncisco, 387 us.523,528,87v
                                   %Ct.1727,18L.Ed.2d.930(1967)j.Accordingly,
 '

     seyeralsistercourtsoftheUrlited Stateshavelnken up theissue ofSocialServices
     yîql>yingFomthAmendmentrightsasaconstitutionalissue(Doev.Heck 327F 3d492,
     JX 1!
         7l';
         .
             tCir.2003,Roev.Fex.Dept.ofpra& Reg.Services,537F3d404,420,5tltCir.
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      t 7
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         4.ErroneousClm'm No.4:TheDefendant,by coungel,assum esthattheuseofthe
  word Gattempted''in thePlaintic sclaim infersthatthePlaintif isstatingtheDefendnnt
  wmsnotsuccessfulintheirRattemptledl''action.TheDefendanthmsarbitrarilydrawnthis
  conclusion.TheDefendanthasadded emph% isto the word Rattempted''to draw this
  conclusion.However,thatisan mssllmptionwhich also leadstheDefendantto wrongly
  statetbntaconstim tionalviolation bnqnotbeen com mitted.n iselementin thePlaintifrs
  pleading isnecessaryto esGblish whethera constim tionalviolation hasoccurred without
  Mivinc awav evidentiaa factslmnecessarilv.TheU S Supreme Courtbn-
                                                                  qstated thatççonly
  by analyzinga11thecircum Ktancesofan individualconsentthatitcan beascertained
  whether....itwmsvoltmtaryorcoerced''(SchnecklothvBustamonte412 US218 (1973)4.
  EitherbyGtexplicitorimpltgilimçjmq,byhnplkdthreatorcovel fome''(USvWatson
                            *           .                                .


  423 US 411,96S.Ct.820,j146L. -:.f/2
                                    2 261.5!t9.i8. (
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                                                      :
                                                        6'9.
                                                      -( 't
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                                                          'r
                                .   .                        .
                                                                 )
         5.ErroneousClnim No.5:'
                               l'
                                heDefendant,by colm Kel,clnim sthatthePlaintiff
  hmsnotimputed liabilitytqPSS.
                              h'l'
                                 hePlaintiffhass'
                                                o
                                                *ecifcall
                                                        '
                                                        ;v
                                                         '''' na
                                                               'medRW iseCotmty  .


  (DepartmentjofSocialServices''inherpleadingasaDefendant.In doingso,thePlaintif
  hmspurposely sGted the allçg:ti
                            ..
                                ,p!lstltisway in orderto attribpte,
                                    .       .
                                                .
                                                    .
                                                                  t!hçope
                                                                     .r
                                                                         rativefactsand
                                                                             .


  facfalalallegationsofherpleadingsto acollective p oup.PlainiiF purposely did notnam e
  theW iseCountyDepartm entofSocialServicesBoard members,nora Supervisor,nor
  Socialworkersspeciscallyby name.Because CPS investigationsarea collectiveprocess
  involvingm ultiple actionsofpeople who aregovem ed by localDepartmentofSocial
                                i; ..
                                    'i(l.                                        .
  Servicespoliciesahd#owèts;tlw collectivegroupisliable.Theçolkétivegroupactson
  thedecisionsofmtlltipleparties.

         Bybringinga suitagainstW iseCotmty DepartmentofSocialServices,the
  Plaintiffisdemonstrating$44#p,Defendantisliqhleforthçk.gçt
                                                           xions.Itwould
  supedluousforthePlaintif to haveto stateûGthePlaintil believesthey can besued for
  tllisand areliable''in adirectp pnner.Notwithslpnding,'f'
                                                          hePlaintiffhasexpanded on
  herbeliefthey can be sued in the originalCom plaintpleading by stating lT he actions of
  W iseColmty(Department)ofSocialServicesareaviolationofmyFirstandFourth
  Am endm entRiglzts''.By doing so,Plaintiffhas stated thatthe W ise County D epnrtm ent
  ofSocialServicesisliable.W hilethism aybeconstrued asaRlegalconclusion'',the


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  Plaintil hasnoterred in doing so:Gtlegalconclusionsareaproperpartoffederal
  plending''(Neitzkev.Willianls,490US319,325 (1989.).A civiliomplnintmay
  legitimatelyttcontainboth factualallegationsand legalconclusions''(Neitzkev.Williams,
  490 US319,325(19894)andç%heyrequirearesponse''(Saldanav.Riddle,No.98c2277,
  1998 USDist.ZA'   N S 9855,at*2,No.fff./zlnc25,19984.

         Likewise,thePlaintiffanticipated demonskating during Discovery theevidentiary
  factsthattheiractionsfallunderRan om cialpolicy orcustom'',an Itom ission toproperly
  train ox cersthatm nnifestsdeliberateindiferencetotherightsofcitizens''and Gûtbrough
  apractice so persistentandw idespread asto constitutea ctlstom orusage w111:theforce
  oflaw''.However,itissuo cientforthe Plaintiffotzly to say RW ise Cotmty Depnrtment
  ofSocialServices''in the initialCom plaintpleading.TheDefendantisasking for
  evidentiaryfactswherethePlaintiffisnotobligated to do so in the Com plaintpleadinM.
  No courtwould expectaPlaintiffto stateevidentiary factsin an originalComplaint
  pleading,and rightly so.ThePlâintiF pwouldbeatadisadvantagebecausetheDefendant
  could altertestim ony and destroy evidencein lightoftoo much being said in the original
  Com plaint.Accordingly,thePlaintil hasanticipated and reserved an in depth discussion
  on sovereign im mlmity and liabilitytotheDiscoveryphmseand Trial.

         W H EREFORE,in consideration ofthePlaintiY sstatem entsabove,the Plaintiff
  m ovestllisHonorable Courtto Strikeal1partsoftheDefendantW ise Colmty Department
  ofSocialService'sM otion to Dism issandto com peltheDefendantto givean answerin
  accordancew1111theFederalRulesofCivilProcedure.

  1A SK FO R TH IS




    elindaScotqpro-se

  PO BOX 1133-2014PM 8 87

  Richmond,Virginia 23218



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  540.692.2342

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                            CERTH ICATE OF SERU CE

   1,M elinda ScottaPlaine pro-seinthe abovenamed cmse,do sute underOath that1have
   mailed a copy ofthisM otion to StrikeDefendant'sM otion to Dismissto the Defendant,
   by counselto:Christopher S.Dndn
                                .
                                  k;Guynn & W addell,P.C.,415 S.College Avenue,
                                                 w

   Salem,Virginiw24153onthis            dayof j
                                              ,
                                              yy ,xyg.
                                 ,




                                                                        Respectfully,




                                                      .            elinda Scotq pro-se

                                                           PO BOX 1133-2014PM 887

                                                                  Richmond,Virginia

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                                                                   mscottw@ m u.edu




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